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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
JRS/GK/DAS                                          271 Cadman Plaza East
                                                    Brooklyn, New York 11201



                                                    August 1, 2023

By ECF and Email

The Honorable Eric R. Komitee
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Carlos Watson and Ozy Media, Inc.
                      Criminal Docket No. 23-82 (EK)

Dear Judge Komitee:

               The government respectfully submits this letter in advance of the August 2, 2023
status conference to provide the Court with a report of the status of the case.
       I.     Rule 16 Discovery
               The government has been producing Rule 16 discovery on a rolling basis. At this
point, the government has produced substantially all Rule 16 discovery currently in its
possession, including over 1 million documents, with the largest exception being the data from
the devices seized from the defendant Carlos Watson at the time of his arrest. The government
intends to produce the data from those devices shortly in connection with its filter review
process, discussed below. Because the government’s investigation is ongoing, the government is
continuing to gather additional materials, which it has been producing and will continue to
produce on a rolling basis.
       II.    The Filter Review Process
               The government has conferred with the defendants and worked with the
government’s filter team to identify potentially privileged communications in the Rule 16
material and on Watson’s seized devices.
                In particular, on June 14, 2023, the filter team produced potentially privileged
materials to the defendants to allow them to assert a claim of privilege as to any of those
materials by August 25, 2023. See ECF Dkt. No. 72. As of yet, the defendants have not asserted
a claim of privilege over any of these materials. The filter team intends to release to the
prosecution team materials from this production over which the defendants have not asserted a
claim of privilege by August 25, 2023.
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                Further, on July 11, 2023, the government produced to the defendants the contacts
from Watson’s phones and asked the defendants to identify any contacts with whom there may
be privileged communications by July 25, 2023. See ECF Dkt. No. 75. The defendants did not
assert a claim of privilege as to communications with any of the contacts.
                The government understands that the filter team will soon be making a production
of potentially privileged materials from Watson’s devices to the defendants so that the
defendants can assert claim of privileges if they so choose. At that time, the filter team will also
produce full copies of the two Watson phones to the defendants.1
       III.    The Defendants’ Request for a Bill of Particulars
                On July 18, 2023, the defendants filed a letter to the government requesting a bill
of particulars. See ECF Dkt. No. 78. The government responded on August 1, 2023, providing
certain of the information requested by the defendants. See ECF Dkt. No. 82. To the extent the
defendants intend to litigate this issue further, the government requests that the Court set a
briefing schedule. Cf. Fed. R. Crim. P. 7(f) (stating that motions for bills of particulars are
normally due within 14 days of arraignment).
                                  *              *              *
              The government thanks the Court for its attention to these matters and will
endeavor to be prepared to address any other issues raised at the August 2, 2023 status
conference.


                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

                                              By:      /s/
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cc:    Clerk of the Court (via ECF)
       All Counsel of Record (via ECF)




       1
               The government has not yet been able to bypass the encryption for Watson’s
laptop and therefore cannot yet produce a copy of the data from that device.



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